                 Case 2:19-cr-00232-JCC Document 92 Filed 11/06/20 Page 1 of 2




                                                      THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR19-0232-JCC
10                             Plaintiff,                    ORDER
11          v.

12   CHARLES CROTEAU,

13                             Defendant.
14

15          This matter comes before the Court on Defendant’s unopposed motion to proceed with a
16   plea hearing by video or teleconference (Dkt. No. 91). Having thoroughly considered the motion
17   and the relevant record, the Court hereby GRANTS the motion for the reasons explained herein.
18          On November 20, 2019, Defendant pled not guilty to charges of conspiracy to distribute
19   methamphetamine and possession of methamphetamine with intent to distribute. (Dkt. Nos. 1,
20   24.) Defendant now moves for a change of plea hearing. (Dkt. No. 91.) According to Defendant,
21   charges based on the same conduct are pending in Whatcom County, which Defendant expects
22   will be dismissed upon his change of plea in this Court. (Id. at 5.) Therefore, Defendant wishes
23   to move forward with a plea hearing now and consents to do so by video or teleconference in
24   light of the impact of the COVID-19 pandemic on this Court’s in-person operations. (Id.)
25          Because of the health risks posed by the COVID-19 pandemic, the Court may conduct a
26   felony plea hearing by video or teleconference if the defendant consents and the Court finds that


     ORDER
     CR19-0232-JCC
     PAGE - 1
               Case 2:19-cr-00232-JCC Document 92 Filed 11/06/20 Page 2 of 2




 1   the plea hearing cannot be further delayed without serious harm to the interests of justice. See

 2   Coronavirus Aid, Relief, and Economic Security (CARES) Act, Pub. L. No. 116-136,

 3   §§ 15002(b)(2)(A), (b)(4), 134 Stat. 281, 528–29 (2020); W.D. Wash. General Order No. 14-20

 4   (Sept. 24, 2020), 04-20 (Mar. 30, 2020). Defendant has a strong interest in the speedy resolution

 5   of this matter and has consented to a change of plea hearing by video or teleconference. (Dkt.

 6   No. 91 at 5.) The Court will not resume in-person proceedings until at least January 1, 2021. See

 7   W.D. Wash. General Order No. 15-20 at 2 (Oct. 2, 2020). Unnecessarily delaying Defendant’s

 8   guilty plea hearing further would cause serious harm to the interests of justice.
 9          For the foregoing reasons, the Court GRANTS Defendant’s unopposed motion to proceed
10   with a plea hearing by teleconference (Dkt. No. 91). The Court ORDERS that Defendant’s guilty
11   plea hearing be set as soon as practicable before a Magistrate Judge and be conducted by video
12   conference.
13          DATED this 6th day of November 2020.




                                                           A
14

15

16
                                                           John C. Coughenour
17                                                         UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26


     ORDER
     CR19-0232-JCC
     PAGE - 2
